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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiff,                                 8:13CR106

      v.
                                                            AMENDED ORDER
WARREN TIDWELL,

                    Defendant.


      This matter is before the court on its own motion. On May 1, 2015, defendant

was directed to file an itemized listing of work performed and the amounts paid to

counsel to date for an in camera review in connection with defendant's objection, Filing

No. 351, to the magistrate judge's denial, Filing No. 282, of defendant's request for

appointment of counsel Joseph Howard under the Criminal Justice Act (CJA), Filing No.

277. See Filing No. 396. Defendant has not yet done so. This action is set for trial on

July 27, 2015. Accordingly,

      IT IS ORDERED that defendant shall comply with the court's earlier order (Filing

No. 396) on or before the close of business on July 24, 2015, or the defendant's

objection (Filing No. 351) to the magistrate judge's order (Filing No. 282), will be

overruled.

      Dated this 22nd day of July, 2015

                                                BY THE COURT:
                                                s/ Joseph F. Bataillon
                                                Senior United States District Judge
